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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                              )
    In re:                                                    )      Chapter 11
                                                              )
    OFF LEASE ONLY LLC,1                                      )      Case No. 23- 11388 (CTG)
                                                              )
                              Debtors.                        )      (Joint Administration Requested)
                                                              )
                                                              )

     MOTION OF THE DEBTORS FOR ENTRY OF INTERIM AND FINAL ORDERS (I)
    AUTHORIZING THE USE OF CASH COLLATERAL, (II) GRANTING ADEQUATE
                PROTECTION TO PREPETITION SECURED PARTIES,
    (III) SCHEDULING A FINAL HEARING, AND (IV) GRANTING RELATED RELIEF

             Off Lease Only LLC, Off Lease Only Parent LLC, and Colo Real Estate Holdings LLC,

the above-captioned debtors and debtors-in-possession (collectively, the “Debtors”) seek entry of

an interim order, substantially in the form attached hereto as Exhibit A (the “Interim Order”) and

a final order (the “Final Order” and, together with the Interim Order, the “Cash Collateral Orders”),

respectively, pursuant to sections 105, 361, 362, 363, 503, and 507 of title 11 of the United States

Code, 11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”), Rules 2002, 4001, 6003, and 6004 of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Rule 4001-2 of the Local

Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District

of Delaware (the “Local Rules”), (i) authorizing the use of cash collateral, (ii) granting adequate

protection to prepetition secured parties, and (iii) granting related relief. In support of this motion

(the “Motion”), the Debtors rely upon and incorporate by reference the Declaration of Leland




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     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number (if applicable) are: Off Lease Only LLC (7345), Off Lease Only Parent LLC (2753), and Colo Real Estate
     Holdings LLC (7453). The location of the Debtors’ service address in these chapter 11 cases is 1200 S. Congress
     Ave., Palm Springs, FL 33406.


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Wilson in Support of Chapter 11 Petitions and First Day Motions (the “First Day Declaration”),2

filed contemporaneously herewith. In further support of this Motion, the Debtors respectfully state

as follows:

                                      JURISDICTION AND VENUE

         1.        The United States Bankruptcy Court for the District of Delaware (the “Court”) has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing

Order of Reference from the United States District Court for the District of Delaware, dated

February 29, 2012. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

         2.        Pursuant to Local Rule 9013-1(f), the Debtors consent to the entry of a final order

by the Court in connection with this Motion to the extent that it is later determined that the Court,

absent consent of the parties, cannot enter final orders or judgments in connection herewith

consistent with Article III of the United States Constitution.

         3.        Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

         4.        The statutory bases for the relief requested in this Motion are sections 105, 361,

362, 363, 503, and 507 of the Bankruptcy Code, Bankruptcy Rules 2002, 4001, 6003, and 6004,

and Local Rule 4001-2.

                                               BACKGROUND

         5.        On the date hereof (the “Petition Date”), the Debtors commenced these chapter 11

cases by filing petitions for relief pursuant to chapter 11 of the Bankruptcy Code (the “Chapter 11

Cases”).

         6.        The Debtors continue to manage and operate their business as debtors-in-

possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.


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    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the First Day
    Declaration.


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        7.        As of the date hereof, no trustee, examiner, or official committee has been

appointed in the Chapter 11 Cases.

        8.        A detailed description of the Debtors, including their business operations, their

corporate and capital structure, the events leading to the filing of these Chapter 11 Cases, and the

facts and circumstances supporting this Motion, are set forth in greater detail in the First Day

Declaration and are incorporated by reference herein.

                                 PRELIMINARY STATEMENT

        9.       Prior to the Petition Date, the Debtors were a leading regional used car retailer,

operating dealerships in the States of Florida and Texas. The company was founded in 2004 with

just two cars and grew to become one of the largest volume used car dealers in Florida.

        10.      However, beginning in 2022, the Debtors experienced a significant decline in

revenue due to macroeconomic factors impacting the used car industry. The Debtors took a

number of actions to reduce costs and improve profitability to offset these macroeconomic

conditions. The Debtors reduced their employee headcount significantly, implemented broad-

based cost reduction, launched the We Buy Your Car program in 2022 to acquire inventory at

lower prices, and increased dealer and administration fees charged to customers. The Debtors also

expanded their inventory to include higher mileage, older vehicles sold at lower prices in an

attempt to address customer affordability. However, despite the Debtors’ efforts, as a result of its

declining performance and aging inventory, the Debtors began to face increased pressure from

Ally (as defined below), their floorplan lender. As described in detail in the First Day Declaration,

due to restrictions imposed by Ally on the Debtors’ ability to purchase vehicles and limited

liquidity, the Debtors were no longer able to purchase sufficient profit generating inventory in

August 2023.



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        11.      Accordingly, the Debtors determined that their only option was to cease operations,

allow Ally to collect the vehicles securing its debt, and wind down their businesses in these Chapter

11 Cases. The Debtors stopped selling vehicles on September 6, 2023 and terminated all of their

employees prior to the Petition Date.

        12.      By this Motion, the Debtors seek authority to use Cash Collateral (as defined

below) securing obligations owed to their three lenders—Ally, Spirit, and Cerberus (each as

defined below)—during these Chapter 11 Cases to wind down their businesses and preserve and

protect the Prepetition Collateral (as defined below) of each lender in order to maximize the value

of their estates for the lenders and all stakeholders. The Debtors require immediate access to Cash

Collateral in order to maximize the value of their estates, and submit that the continued use of Cash

Collateral is necessary to avoid immediate and irreparable harm and is critical to the success of

these Chapter 11 Cases and the Debtors’ ability to wind down their businesses.

        13.      Importantly, the Debtors seek access to Cash Collateral in order to preserve their

assets for the benefit of their secured lenders. Absent the Debtors’ use of Cash Collateral, Ally

would face significant challenges in recovering the vehicles securing its Floorplan Line (as defined

below). The Debtors would be unable to pay rent at the locations at which such vehicles are stored,

or to hire independent contractors to provide security services to protect such vehicles and assist

in delivering them to Ally. Likewise, the Debtors would be unable to pay rent to Spirit which, in

addition to acting as a lender, is the Debtors’ primary landlord. Further, Cerberus has consented

to the Debtors’ use of Cash Collateral.

        14.      Accordingly, for the foregoing reasons and as set forth herein, the Debtors

respectfully request that the Court authorize the Debtors to use Cash Collateral.




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                                         BACKGROUND

        15.      The Debtors’ capital structure consists of outstanding funded debt obligations in

the aggregate principal amount of approximately $138,654,548, comprised of (i) approximately

$67,368,932 outstanding pursuant to the Floorplan Agreement; (ii) $5,000,000 in principal

outstanding pursuant to the Spirit Note; (iii) $13,450,000 in principal outstanding pursuant to the

Katy Loan Agreement; and (iv) $52,835,616 in principal and paid-in-kind interest outstanding

pursuant to the Cerberus Note (each as defined below).

        16.      Floorplan Agreement. Debtor Off Lease Only LLC (“OLO”), as borrower, Off

Lease Only Parent LLC (“Parent”), as guarantor, and Ally Bank and Ally Financial (collectively,

Ally”) are party to that certain Master Wholesale Agreement, dated as of October 11, 2010 (as

amended, supplemented, or modified from time to time, the “Floorplan Agreement”). Pursuant to

the Floorplan Agreement, Ally financed the Debtors’ acquisition of the majority of their inventory

through a $180 million line of credit (the “Floorplan Line”), as described in detail in the First Day

Declaration. The Floorplan Line is secured by a lien on (i) all of the Debtors’ vehicles, including

but not limited to, vehicles for which Ally provides financing, and regardless of whether such

vehicles are inventory or equipment, and (ii) all funds provided to or held by Ally, regardless of

whether such funds are considered accounts, general intangibles, or otherwise. Pursuant to the

Floorplan Agreement, Ally also holds $10 million of the Debtors cash as restricted cash.

        17.      Spirit Loans. OLO, as borrower, Parent, as guarantor, and Spirit Realty, L.P.

(“Spirit”), as lender are party to that certain Loan Agreement, dated as of March 25, 2022 (as

amended, supplemented, or modified from time to time (the “Katy Loan Agreement”), pursuant to

which Spirit provided a $13.45 million construction loan for use in constructing a new dealership

in Katy, Texas (the “Katy Loan”). The Katy Loan is secured by, among other things, (i) land,



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improvements, fixtures, easements, and equipment related to the Katy property, and (ii) property

and rights of OLO that may be subject to the Uniform Commercial Code, regardless of whether

such assets are related to the Katy property. In addition, OLO, as maker, Parent, as guarantor, and

Spirit, as holder, are party to that certain Promissory Note, dated as of May 17, 2023 (as amended,

supplemented, or modified from time to time, the “Spirit Note”) pursuant to which OLO issued a

$5 million promissory note to Spirit. The obligations pursuant to the Spirit Note are unsecured.

        18.      Cerberus Note. Parent, as maker, OLO and Colo Real Estate Holdings LLC, as

guarantors, and Cerberus Off Lease Only LLC (“Cerberus” and, together with Ally and Spirit, the

“Prepetition Secured Parties”), as holder, are party to that certain Promissory Note, dated as of

August 5, 2022 (as amended, supplemented, or modified from time, the “Cerberus Note”). The

principal amount of the Cerberus Note is approximately $46.7 million, and as of the Petition Date,

$52,835,616.20 in principal and paid-in-kind interest are outstanding. The Cerberus note is

secured by substantially all of the Debtors’ assets, excluding Ally’s collateral.

        19.      As set forth above, all of the Debtors’ cash (the “Cash Collateral”) is encumbered

by the Prepetition Secured Parties’ security interests. And, as explained above, the Debtors require

immediate access to Cash Collateral to administer these Chapter 11 Cases, preserve and protect

the Prepetition Secured Parties’ collateral, and successfully wind down their businesses. The

Debtors, in consultation with their advisors, have reviewed and analyzed their projected cash needs

during these Chapter 11 Cases and have prepared a budget outlining such needs (the “Budget”), a

copy of which is attached as Exhibit 1 to the Interim Order. The Debtors submit that the Budget

accurately reflects their cash needs and will allow them to meet their obligations in these Chapter

11 Cases. The Debtors submit that the use of Cash Collateral in accordance Budget is reasonable

and necessary to maximize the value of their estates for the benefit of all stakeholders.



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                        CONCISE STATEMENT PURSUANT TO
                   BANKRUPTCY RULE 4001(b) AND LOCAL RULE 4001-2

        20.      The below chart contains a summary of the material terms of the proposed Interim

Order, together with references to the applicable provisions thereof, as required by Bankruptcy

Rules 4001(b)(1)(B) and 4001(c)(1)(B) and Local Rule 4001-2. The majority of the provisions of

such Bankruptcy Rules and Local Rule are inapplicable to the Interim Order and the Debtors’

proposed use of Cash Collateral, accordingly only the applicable provisions are summarized below.

          SUMMARY OF MATERIAL TERMS OF THE INTERIM ORDER
 Adequate Protection As adequate protection of the interests of the Interim Order
                     Prepetition Secured Parties in the Prepetition ¶¶ 3–6
  Bankruptcy Rule
                     Collateral, the Debtors propose to provide the
  4001(c)(1)(B)(ii)
                     following:
                               i.   to the extent of any Diminution in Value
                                    of such interests in the Prepetition
                                    Collateral, continuing, valid, binding,
                                    enforceable, and perfected Liens, which
                                    shall be senior in priority to the
                                    Prepetition Lien held by the applicable
                                    Prepetition Secured Party, upon such
                                    Prepetition Secured Party’s Prepetition
                                    Collateral (the “Adequate Protection
                                    Liens”). The Adequate Protection Liens
                                    shall be subject to the Carve Out and, with
                                    respect to the Prepetition Secured Parties,
                                    shall have the same priority as such
                                    Prepetition Secured Parties enjoyed with
                                    respect to the Prepetition Collateral. The
                                    Adequate Protection Liens shall be junior
                                    only to the Carve Out and the Permitted
                                    Prior Liens. The Adequate Protection
                                    Liens shall be senior to all other security
                                    interests in, liens on, or claims against any
                                    of the Debtors’ assets that constitute
                                    Prepetition Collateral.
                              ii.   To the extent of any Diminution in Value
                                    of their respective interests in the
                                    Prepetition Collateral, and subject in all
                                    respects to the Carve Out, allowed
                                    superpriority administrative expense
                                    claims in each of the Chapter 11 Cases

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              SUMMARY OF MATERIAL TERMS OF THE INTERIM ORDER
                           and any Successor Cases (the “Adequate
                           Protection Superpriority Claims”). the
                           Adequate      Protection     Superpriority
                           Claims shall have priority over all
                           administrative expense claims and
                           unsecured claims against the Debtors or
                           their estates, now existing or hereafter
                           arising, of any kind or nature whatsoever
                           as and to the extent provided for by
                           sections 503(b) and 507(b) of the
                           Bankruptcy Code.
  Validity/Priority of       The Debtors, on their own behalf and on behalf of Interim Order
   Liens and Claims          their estates, admit, stipulate, acknowledge, and ¶¶ F, 13
                             agree to certain stipulations regarding the validity
    Bankruptcy Rule
    4001(c)(1)(B)(iii)       and extent of the Prepetition Secured Parties’
                             liens and claims.
        Carve-Out            As used in this Interim Order, the “Carve Out” Interim Order
                             means the sum of (i) all fees required to be paid ¶ 11
    Bankruptcy Rule
                             to the Clerk of the Court and to the Office of the
    4001(b)(1)(B)(iii)
                             United States Trustee under section 1930(a) of
 Local Rule 4001-2(F)        title 28 of the United States Code plus interest at
                             the statutory rate (without regard to the notice set
                             forth below); (ii) all reasonable fees and expenses
                             up to $25,000 incurred by a trustee under
                             section 726(b) of the Bankruptcy Code (without
                             regard to the notice set forth below); and (iii) to
                             the extent allowed at any time, whether by interim
                             order, procedural order, or otherwise, all accrued
                             and unpaid fees, disbursements, costs and
                             expenses (the “Allowed Professional Fees”)
                             incurred by persons or firms retained by the
                             Debtors pursuant to section 327, 328, or 363 of
                             the     Bankruptcy        Code      (the    “Debtor
                             Professionals”) and the Creditors’ Committee, (if
                             any, and subject to the Budget), pursuant to
                             section 328 or 1103 of the Bankruptcy Code (the
                             “Committee Professionals” and, together with the
                             Debtor Professionals, the “Estate Professionals”);
                             provided, however, nothing in the Interim Order
                             shall be construed to impair the ability of any
                             party to object to any fees, expenses,
                             reimbursement or compensation sought by any
                             such professionals or any other person or entity.



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                                                RELIEF REQUESTED

             21.      The Debtors seek entry of the Interim Order and the Final Order, respectively, (i)

     authorizing the use of cash collateral, (ii) granting adequate protection to prepetition secured

     parties, and (iii) granting related relief. In addition, the Debtors request that the Court schedule a

     final hearing approximately twenty-one (21) days from the Petition Date. For the reasons set forth

     herein, the Debtors submit that the relief requested herein is in the best interest of the Debtors,

     their estates, creditors, and other parties-in-interest, and therefore, should be granted.

                                                 BASIS FOR RELIEF

I.       The Use of Cash Collateral and Proposed Adequate Protection Should Be Approved

             22.      The Debtors’ use of property of their estates, including Cash Collateral, is governed

     by section 363 of the Bankruptcy Code, which provides in relevant part:

                                  If the business of the debtor is authorized to be operated
                                  under section . . . 1108 . . . of this title and unless the court
                                  orders otherwise, the [debtor] may enter into transactions,
                                  including the sale or lease of property of the estate, in the
                                  ordinary course of business, without notice or a hearing, and
                                  may use property of the estate in the ordinary course of
                                  business without notice or a hearing.

     11 U.S.C. § 262(c)(1). Pursuant to section 363(c)(2) of the Bankruptcy Code, a debtor may not

     use cash collateral unless “(A) each entity that has an interest in such cash collateral consents; or

     (B) the court, after notice and a hearing, authorizes such use . . . in accordance with the provisions

     of this section.” 11 U.S.C. § 363(c)(2).

             23.      Parties with an interest in cash collateral are entitled to adequate protection pursuant

     to section 363(e) of the Bankruptcy Code. See 11 U.S.C. § 363(e). Further, section 362(d)(1) of

     the Bankruptcy Code provides for adequate protection of interests in property due to the imposition

     of the automatic stay. See In re Cont’l Airlines, 91 F.3d 553, 556 (3d Cir. 1996) (en banc). While



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section 361 of the Bankruptcy Code provides examples of forms of adequate protection, such as

granting replacement liens and administrative claims, courts decide what constitutes sufficient

adequate protection on a case-by-case basis. In re Swedeland Dev. Grp., Inc., 16 F.3d 552, 564

(3d Cir. 1994); In re Satcon Tech. Corp., No. 12-12869 (KG), 2012 WL 6091160, at *6 (Bankr.

D. Del. Dec. 7, 2012); In re Columbia Gas Sys., Inc., Nos. 91-803, 91-804, 1992 WL 79323, at *2

(Bankr. D. Del. Feb. 18, 1992); see also In re Dynaco Corp., 162 B.R. 389, 394 (Bankr. D.N.H.

1993) (citing 2 Collier on Bankruptcy ¶ 361.01[1] at 361–66 (15th ed. 1993) (explaining that

adequate protection can take many forms and “must be determined based upon equitable

considerations arising from the particular facts of each proceeding”)).

        24.      As set forth above and in the Interim Order, the Debtors propose to provide the

Prepetition Secured Parties with adequate protection to protect against the postpetition diminution

in value of the Prepetition Collateral resulting from the use of Cash Collateral. Specifically, the

Debtors propose to provide, to the extent of any Diminution in Value of such interests in the

Prepetition Collateral, the Adequate Protection Liens consisting of continuing, valid, binding,

enforceable, and perfected liens, which shall be senior in priority to the Prepetition Lien held by

the applicable Prepetition Secured Party, upon such Prepetition Secured Party’s Prepetition

Collateral. The Adequate Protection Liens shall be subject to the Carve Out and, with respect to

the Prepetition Secured Parties, shall have the same priority as such Prepetition Secured Parties

enjoyed with respect to the Prepetition Collateral. The Adequate Protection Liens shall be junior

only to the Carve Out and the Permitted Prior Liens. The Adequate Protection Liens shall be

senior to all other security interests in, liens on, or claims against any of the Debtors’ assets that

constitute Prepetition Collateral.




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        25.      Further, to the extent of any Diminution in Value of their respective interests in the

Prepetition Collateral, and subject in all respects to the Carve Out, the Debtors propose to provide

the Adequate Protection Superpriority Claims, consisting of allowed superpriority administrative

expense claims in each of the Chapter 11 Cases and any Successor Cases. The Adequate Protection

Superpriority Claims shall have priority over all administrative expense claims and unsecured

claims against the Debtors or their estates, now existing or hereafter arising, of any kind or nature

whatsoever as and to the extent provided for by sections 503(b) and 507(b) of the Bankruptcy

Code.

        26.      In addition to the forms of adequate protection the Debtors propose to provide

pursuant to the Interim Order and the Final Order, the Debtors submit that the use of Cash

Collateral to preserve and protect the Prepetition Collateral adequately protects the Prepetition

Secured Parties against diminution in the value of the Prepetition Collateral. As is set forth above,

absent the use of Cash Collateral, the Debtors would be unable to maintain the premises at which

vehicles are located or hire independent contractors to secure such locations and assist in delivering

vehicles to Ally. Absent the use of Cash Collateral, the Debtors submit that the value of Ally’s

security interest in their vehicles would deteriorate rapidly, with the risk of permanent loss and the

necessity for Ally to retrieve such vehicles immediately, a virtual impossibility. Accordingly, by

utilizing Cash Collateral to fund their wind down and the return of vehicles to Ally, the Debtors

have adequately protected Ally against any diminution in value. Similarly, Spirit’s interest in its

Prepetition Collateral, consisting of certain real property and assets of Off Lease Only LLC, is

protected through the Debtors’ use of Cash Collateral. The Debtors cannot preserve and maintain

such collateral without access to Cash Collateral. In addition, as noted above, Cerberus has

consented to the Debtors’ use of Cash Collateral.



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                 27.   The Debtors submit that the proposed adequate protection is sufficient to protect

      the Prepetition Secured Parties from any potential diminution in value of their collateral. In light

      of the foregoing, the Debtors further submit that the proposed forms adequate protection to be

      provided for the benefit of the Prepetition Secured Parties are appropriate. Thus, the Debtors’

      provision of adequate protection is not only necessary to protect against any diminution in value

      but is fair and appropriate under the circumstances of these Chapter 11 Cases to ensure the Debtors

      are able to continue using the Cash Collateral for the benefit of all parties in interest and their

      estates.

II.       The Carve Out Is Appropriate

                 28.   Pursuant to the proposed Interim Order, the Prepetition Liens and Adequate

      Protection Liens are subject and subordinate to the Carve Out. The Carve Out contains similar

      terms to others that courts have found to be reasonable and necessary to ensure that a debtor’s

      estate and any statutory committee can retain assistance from counsel and other appropriate

      advisors. Without the Carve Out, the Debtors’ estates may be deprived of possible rights and

      powers if the services for which professionals may be compensated is restricted. See In re Ames

      Dep’t Stores, 115 B.R. at 38 (observing that courts insist on carve outs for professionals

      representing parties in interest because “[a]bsent such protection, the collective rights and

      expectations of all parties-in-interest are sorely prejudiced”). Additionally, the Carve Out protects

      against administrative insolvency during the course of these Chapter 11 Cases by ensuring that

      assets remain for the payment of the U.S. Trustee fees and professional fees, notwithstanding the

      grant of superpriority claims and replacement liens as part of the adequate protection of the

      Prepetition Secured Parties’ interests in the Prepetition Collateral. Accordingly, the Carve Out is

      appropriate and should be approved.



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III.   Failure to Obtain Immediate Interim Access Cash Collateral Would Cause Immediate
       and Irreparable Harm

           29.      Bankruptcy Rules 4001(b) and 4001(c) provide that a final hearing on a motion to

   use Cash Collateral pursuant to section 363 of the Bankruptcy Code may not be commenced earlier

   than 14 days after the service of such motion. Upon request, however, the Court may conduct a

   preliminary, expedited hearing on the Motion and authorize the obtaining of credit and use of cash

   collateral to the extent necessary to avoid immediate and irreparable harm to a debtor’s estate. The

   Third Circuit has interpreted the language “immediate and irreparable harm” in the context of

   preliminary injunctions. In that context, the court has instructed that irreparable harm is a

   continuing harm which cannot be adequately redressed by final relief on the merits and for which

   money damages cannot provide adequate compensation. See, e.g., Norfolk S. Ry. Co. v. City of

   Pittsburgh, 235 F. App’x 907, 910 (3d Cir. 2007) (citing Glasco v. Hills, 558 F.2d 179, 181 (3d

   Cir. 1977)). Furthermore, the harm must be shown to be actual and imminent, not speculative or

   unsubstantiated. See, e.g., Acierno v. New Castle Cnty., 40 F.3d 645, 653-55 (3d Cir. 1994). The

   Debtors submit that for the reasons already set forth herein, the relief requested in this Motion is

   necessary to avoid immediate and irreparable harm to the Debtors and, accordingly, should be

   granted.

           30.      For the reasons noted above, the Debtors have an immediate postpetition need to

   use Cash Collateral. Absent use of Cash Collateral, the Debtors cannot preserve the value of their

   estates during the pendency of these Chapter 11 Cases. The Debtors will use cash to conduct an

   orderly wind-down of their businesses and deliver to, or permit recover of, collateral by their

   secured lenders. Substantially all of the Debtors’ available cash constitutes the Cash Collateral of

   the Prepetition Secured Parties. The Debtors will therefore be unable to wind down their business

   or otherwise fund these Chapter 11 Cases without access to Cash Collateral and will suffer


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      immediate and irreparable harm to the detriment of all creditors and other parties in interest. In

      short, the Debtors’ ability to administer these Chapter 11 Cases through the use of Cash Collateral

      is vital to preserve and maximize the value of the Debtors’ estates.

IV.       Position of Secured Creditors

              31.      Cerberus has consented to the use of Cash Collateral and the relief requested herein.

      The Debtors have requested, but have not yet received, a response from Ally or Spirit as to whether

      they consent to the use of Cash Collateral.

                          WAIVER OF BANKRUPTCY RULE 6004(a) AND 6004(h)

              32.      To implement the foregoing successfully, the Debtors seek a waiver of the notice

      requirements pursuant to Bankruptcy Rule 6004(a) and the fourteen (14)-day stay of an order

      authorizing the use, sale, or lease of property pursuant to Bankruptcy Rule 6004(h).

                                        RESERVATION OF RIGHTS

              33.      Nothing contained in this Motion or any actions taken by the Debtors pursuant to

      relief granted in the Proposed Orders is intended or should be construed as: (a) an admission as to

      the validity of any particular claim against the Debtors; (b) a waiver of any party’s rights to dispute

      any particular claim on any grounds; (c) a promise or requirement to pay any particular claim; (d)

      an implication or admission that any particular claim is of a type specified or defined in this

      Motion; (e) a request or authorization to assume any agreement, contract, or lease pursuant to

      section 365 of the Bankruptcy Code; (f) a waiver or limitation of any party’s rights pursuant to the

      Bankruptcy Code or any other applicable law; or (g) a concession by any party that any liens

      (contractual, common law, statutory, or otherwise) satisfied pursuant to this Motion are valid, and

      all parties’ rights to contest the extent, validity, or perfection or seek avoidance of all such liens

      are hereby reserved. If the Court grants the relief sought herein, any payment made pursuant to



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the Court’s order is not intended and should not be construed as an admission as to the validity of

any particular claim or a waiver of any party’s rights to subsequently dispute such claim.

                                              NOTICE

        34.      The Debtors have provided notice of this motion to the following parties or their

respective counsel: (a) the U.S. Trustee; (b) the holders of the twenty (20) largest unsecured claims

against the Debtors (on a consolidated basis); (c) the United States Department of Justice; (d) the

office of the attorneys general for the states in which the Debtors operate; (e) the United States

Attorney’s Office for the District of Delaware; (f) the Internal Revenue Service; (g) Cerberus Off

Lease Only LLC; (h) Spirit Realty, L.P.; (i) Ally Bank; and (j) any party that has requested notice

pursuant to Bankruptcy Rule 2002. As this Motion is seeking “first day” relief, within two (2)

business days of the hearing on this Motion, the Debtors will serve copies of this Motion and any

order entered in respect to this Motion as required by Local Rule 9013-1(m). The Debtors submit

that, in light of the nature of the relief requested, no other or further notice need be given.

                                      NO PRIOR REQUEST

        35.      No prior request for the relief sought herein has been made by the Debtors to this or

any other court.

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                                         CONCLUSION

        WHEREFORE, the Debtors respectfully request that the Court enter the Interim Order,

substantially in the form attached hereto as Exhibit A, granting the relief requested herein and such

other relief as the Court deems appropriate under the circumstances.

Dated: September 7, 2023                   Respectfully submitted,
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